                Case: 25-1555    Document: 91     Page: 1    Date Filed: 06/27/2025
         UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                   No. __________________

________________________________ vs. ______________________________


Calendar Date _______________                Location _____________________


        ACKNOWLEDGMENT AND DESIGNATION OF ARGUING COUNSEL


Receipt acknowledged by: __________________________________________

Designation of Arguing Counsel: ____________________________________

Member of the Bar:        ________ Yes              ________ No

Representing (check only one):

________ Petitioner(s)        ________ Appellant(s)         ________ Intervenor(s)


________ Respondent(s)       ________ Appellee(s)           ________ Amicus Curiae


Please list the name of the lead party being represented:

______________________________________________________________




ONLY COUNSEL WHO ARE MEMBERS OF THE BAR OF THE COURT OF APPEALS
FOR THE THIRD CIRCUIT AND WHO FILED AN APPEARANCE ARE PERMITTED TO
ARGUE BEFORE THE COURT. (BAR ADMISSION IS WAIVED FOR FEDERAL
ATTORNEYS.)
